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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND

   MAYRA F. PENA

                       PLAINTIFF

   V.


                                                                 C.A. NO:15-CV-00179-S-LDA
   HONEYWELL INTERNATIONAL INC.,

                       DEFENDANT


   DEFENDANT HONEYWELL INTERNATIONAL INC.'S RESPONSE TO PLAINTIFF'S
    OBJECTION TO MAGISTRATE JUDGE LINCOLN D. ALMOND'S REPORT AND
            RECOMMENDATION TO GRANT SUMMARY JUDGMENT

        I.           INTRODUCTION

             Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, Defendant Honeywell

   International Inc. ("Honeywell" or "Defendant") hereby responds to Plaintiff Mayra Pena's

  ("Ms. Pena" or "Plaintiff) Objection (the "Objection") to Magistrate Judge Lincoln D.

  Almond's Report and Recommendation (the "R&R") in connection with Honeywell's Motion

  for Summary Judgment. As Magistrate Judge Almond properly concluded, Honeywell is entitled

   to summary judgment on all Counts of Plaintiff s Complaint.1

             First, as Magistrate Judge Almond recognized. Plaintiffs claim that she was otherwise

  qualified to perform her job duties at Honeywell is irreconcilably at odds with the statements


        Plaintiffs Complaint contains twelve counts that assert essentially three separate causes of action under the
        Americans with Disabilities Act ("ADA"), 42 U.S.C. 12101 et se£, and four Rhode Island state
        antidiscrimination statutes, the Rhode Island Civil Rights Act ("RICRA"), R.I. Gen. Laws §§ 42-112-1 et seq..
        the Rhode Island Fair Employment Practices Act ("FEPA"), R.I. Gen. Laws §§ 28-5-1 et seq.. the Rhode Island
        Civil Rights of People with Disabilities Act ("RIPDA"), R.I. Gen. Laws §§ 42-87-1 et seq.. and the Rhode
        Island Whistleblowef s Protection Act ("RIWPA"), R.I. Gen. Laws §§ 28-50-1 et seq. Plaintiffs causes of
        action are (1) failure to provide a reasonable accommodation pursuant to a disability under the RICRA, FEPA,
        RIPDA, and ADA, Counts I through IV; (2) discriminatory discharge on the basis of disability under RICRA,
        FEPA, RIPDA, and ADA, Counts V through VIII; and (3) retaliation under RICRA, FEPA, RIPDA, and
        RIWPA, Counts IX through XII.




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  Plaintiff made in her sworn Social Security Disability Insurance ("SSDI") Application where she

  claimed to be totally disabled. Specifically, Plaintiff stated in her SSDI Application and

  deposition testimony that as of March 8, 2013 (her last day of work), she was totally disabled

  and unable to perform any work whatsoever. However, the entire basis of Plaintiff s claim in

  this litigation is her allegation that on March 8, 2013, she could not work in the Molding

  Department but was "completely capable of working in other settings." In her Objection,

  Plaintiff does not even attempt to reconcile her two contradictory sworn statements. Instead, she

  invites this Court to go rogue by ignoring well-settled United States Supreme Court precedent

  and, instead, follow EEOC guidance issued before the Supreme Court set forth the current

  framework for assessing these claims. This Court should decline her invitation and conclude (as

  it must, based on all of the record evidence) that summary judgment is appropriate because

  Plaintiff has not offered any explanation to reconcile her statements in her SSDI Application and

  her deposition with the essential elements of her discriminatory discharge and reasonable

  accommodation claims. Moreover, even setting aside Plaintiffs SSDI Application, her

  discriminatory discharge claim also fails because she has presented no evidence that her

  discharge was motivated by discriminatory animus.

             Plaintiffs retaliation and whistleblower claims are equally flawed, as she has offered no

  evidence of a causal connection between a February 21, 2013 conversation with Honeywell's

  human resources generalist about her break schedule and her subsequent termination nearly four

  months later on July 17, 2013. As Magistrate Judge Almond properly noted, after February 21,

  2013, Plaintiffs break schedule was never mentioned again, and the dialogue focused singularly

  on the issue of her assignment to Honeywell's Molding Department. In her Objection, Plaintiff

  relies solely on gross speculation to attempt to save her retaliation and whistleblower claims.



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  Not only is her speculation not supported by any evidence, but it also runs contrary to all of the

  evidence and undisputed facts in this case. In fact, the undisputed evidence shows that

  Honeywell terminated Plaintiffs employment only after she refused to perform that part of her

  job, left the workplace, and never returned. Even then, Honeywell did not terminate her until she

  was absent for over three months and after she had not responded to Honeywell's

  communications for over a month. For these and other reasons discussed below, this Court

  should accept Magistrate Judge Almond's R&R and enter judgment in favor of Honeywell as to

  all Counts of Plaintiff s Complaint.

        II.          PLAINTIFF'S REASONABLE ACCOMMODATION AND
                     DISCRIMINATORY DISCHARGE CLAIMS (COUNTS I - VIII)

                     1. Plaintiffs Sworn Statements in her SSDI Application and Subsequent Deposition
                        Testimony Preclude Her ADA Claim

              Plaintiff stated in her SSDI application, under oath and in black and white, "I became

  unable to work because of my disabling condition on March 8, 2013. I am still disabled."2 (ECF

  Doc. No. 28,           90, 91). This statement is entirely at odds with her position in this litigation that

  on March 8, 2013 (her last day of work), she could not work in the Molding Department but was

  "completely capable of working in other settings."

              The law is well-settled that "to defeat [a defendant's] motion for summary judgment, [a

  plaintiff] must explain why the representations of total disability [s]he has made in the past are

  consistent with [her] current claim that [s]he could perform the essential functions of [her

  position] with reasonable accommodation." Sullivan v. Raytheon Co.. 262 F.3d 41, 47 (1st Cir.

  2001) (citing Cleveland v. Policy Mgmt. Svs. Corp.. 526 U.S. 795, 805, 119 S.Ct. 1597 (1999)).

  Where, as here, a plaintiff does not offer a sufficient explanation—or cannot offer a sufficient


  2    Based on this representation, an Administrative Law Judge determined that Plaintiff was totally disabled as of
       her last day of work and ordered SSDI benefits retroactive to March 8, 2013. (ECF Doc. No. 28, f 92).

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  explanation based on the specificity of her statements provided in her SSDI application—

  summary judgment should be granted. See Sullivan, 262 F.3d at 47 (concluding that summary

  judgment in favor of employer was appropriate where plaintiff offered no evidence to explain

  why the representations of total disability that he made in applications for SSDI and workers'

  compensation benefits are consistent with his current claim that he could perform the essential

  functions of a security guard with reasonable accommodation).3

             In her Objection, Plaintiff does not even attempt to reconcile her two contradictory

  positions. Instead, Plaintiff misapprehends the Supreme Court's holding in Cleveland and, in

  attempting to satisfy her distorted interpretation of that holding, admits that her statements in

  her SSDI application and this litigation are inconsistent. Specifically, Plaintiffs Objection is

  focused on her attempt to show that "[Plaintiff] has given a sufficient explanation for why she

  provided inconsistent statements in her SSDI application and her ADA litigation." Plaintiff's

  Objection, p. 11 (emphasis added). However, that is not at all what Cleveland requires; instead,

  Cleveland requires a plaintiff to "explain why the representations of total disability [s]he has

  made in the past are consistent with [her] current claim that [s]he could perform the essential

  functions of [her position] with reasonable accommodation." Sullivan, 262 F.3d at 47 (citing

  Cleveland, 526 U.S. at 805) (emphasis added).




  3    With respect to Plaintiffs R1CRA, FEPA and RIPDA claims, the Rhode Island Supreme Court routinely looks
       for guidance from federal courts interpreting the ADA. See Barber v. Verizon New England Inc.. No. 05-390-
       ML, 2006 WL 3524465, at *3 (D.R.I. Dec. 6, 2006); DeCamo v. Dollar Tree Stores. Inc.. 875 A.2d 13, 21 (R.I.
       2005) (stating that the FEPA and RICRA parallel the federal ADA and relying on federal case law in assessing
       claims under these state statutes); Evans v. Rhode Island Dep't of Bus. Regulation. No. 01-1122, 2004 WL
       2075132, at *5 (R.I. Super. Aug. 21, 2004) (stating that, given the parallel nature of the statutes, Rhode Island
       Courts have applied ADA case law in interpreting the RIPDA). Consequently, this Court should look to federal
       cases addressing disability discrimination, retaliation, and reasonable accommodations in ruling on Honeywell's
       summary judgment motion.

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             Plaintiff does not stop there. She brazenly goes a step further by arguing that this Court

  should ignore one of her two sworn statements. This argument further illustrates her

  misunderstanding of the Supreme Court's holding in Cleveland. In particular, Plaintiff argues:

             [W]hen given the choice between having to accept one of the two contradictory
             statements, it is curious that Honeywell conveniently accepts the statements Pena
             made in her SSDI application as the ones that are truthful and accurate. Why
             doesn't Honeywell take the position that Pena lied on her SSDI application, but
             that she is telling the truth in her ADA litigation?

  Plaintiff's Objection, p.l 1 (emphasis added). In support of this argument. Plaintiff urges the

  court to rely upon an affidavit that directly contradicts her SSDI application and deposition

  testimony, and assures this Court that, if given the opportunity, she will testify in accordance

  with this affidavit (and not in line with her SSDI application and deposition testimony) at trial.

  Plaintiff's Objection, p. 11. However, the purpose of Cleveland is not to force a plaintiff to

  choose which forum in which she lied, but the opposite: Resting upon principles of judicial

  estoppel, the purpose is to preclude a plaintiff from lying under oath in the first place. Indeed,

  as the Court stated in Cleveland, "a party's directly conflicting statements about purely factual

  matters, such as 'The light was red/green,' present precisely the sort of threat to judicial integrity

  that the doctrine of judicial estoppel was designed to prevent." Boston Gas Co. v. Century

  Indem. Co.. 708 F.3d 254, 264 (1st Cir. 2013) (quoting Cleveland, 526 U.S. at 802). As a result,

  "a party cannot create a genuine issue of fact sufficient to survive summary judgment simply by

  contradicting his or her own previous sworn statement (by, say, filing a later affidavit that flatly

  contradicts that party's earlier sworn deposition) without explaining the contradiction or

  attempting to resolve the disparity." Cleveland. 526 U.S. at 806.

             Unsurprisingly, all of Plaintiff s "explanations" in her Objection are focused on her

  reasons for why she made inconsistent statements, and do not at all address how her statements



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   could somehow be consistent. First, she blames her SSDI attorney, stating that he "advised her

  to use March 8, 2013, her last day of work, as the date of the onset of her disability." Plaintiff's

  Objection, p. 11. If the Court accepts Plaintiffs implication as true, it must also conclude that

  she committed perjury in her SSDI application and in her deposition by swearing under oath that

   her complete inability to work started on March 8, 2013.4 Without concurrently admitting to

  perjury, Plaintiffs attorney's advice does not change the fact that she testified, under oath, that

  she was completely unable to perform work as of March 8, 2013.

             Next, Plaintiff attempts to blame Honeywell's counsel by stating that "Honeywell's

  counsel attempted to dupe [Plaintiff] into testifying that she was too disabled to work on March

  8, 2013, when this was not true and Honeywell knew it." Plaintiff's Objection, p. 10. Not only

  is this irrelevant because it is Plaintiffs burden to show that her statement in her SSDI

  application is consistent with her current claim, Sullivan. 262 F.3d at 47, but it is also entirely

  untrue. During her deposition, defense counsel repeatedly asked Plaintiff to explain how her

  statement in her SSDI application that she was disabled and unable to work could be reconciled

  with her current claim that she was able to perform the essential functions of her position. (ECF

  Doc. No. 28,        94-95).     Each and every time, Plaintiff did not provide an explanation, but,

  instead, underscored the fact that she was completely unable to work.5 (ECF Doc. No. 28,


  4    Specifically, Plaintiffs application states that: "I KNOW THAT ANYONE WHO MAKES OR CAUSES TO
       BE MADE A FALSE STATEMENT OR REPRESENTATION OF MATERIAL FACT IN AN
       APPLICATION OR FOR USE IN DETERMINING A RIGHT TO PAYMENT UNDER THE SOCIAL
       SECURITY ACT COMMITS A CRIME PUNISHABLE UNDER FEDERAL LAW BY FINE,
       IMPRISONMENT OR BOTH. I AFFIRM THAT ALL INFORMATION I HAVE GIVEN IN CONNECTION
       WITH THIS CLAIM IS TRUE." (ECF Doc. No. 28,              90, 91). Her application summary further reminds her,
       "You declared under penalty of perjury that you examined all the information on this form and it is true and
       correct to the best of your knowledge. You were told that you could be liable under law for providing false
       information." (ECF Doc. No. 28,        90, 91).

  5    Specifically, when asked to explain how she can claim on the one hand that she was completely unable to work
       and, on the other hand, that she could perform the essential functions of her job, Plaintiff stated: "The thing is
       that from that date, the dose of medication for the depression was increased, and also I also got four more pills
       because of the tachycardia, and also I got medication to help me sleep." (ECF Doc. No. 28, % 94). When asked

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  94-95).       Despite having numerous opportunities to explain how her statements were somehow

  consistent, Plaintiff failed to do so.

             In a last-ditch effort to save her claim, Plaintiff requests that this Court ignore the

  Supreme Court's well-settled precedent in Cleveland and its progeny, and, instead, follow EEOC

  Enforcement Guidance issued in February 1997, which set forth factors for field officers to

  consider in assessing whether an application for disability benefits should bar an ADA claim.

  EEOC Notice No. 915.002 (2-12-97). Flowever, the EEOC's guidance—issued before the

  United States Supreme Court set forth the current framework for assessing these claims—no

  longer has any bearing whatsoever on the interplay between an SSDI application and an ADA

  claim. Specifically, two years after the Commission issued the aforementioned guidance, the

  United States Supreme Court issued its opinion in Cleveland, in which it held:

             When faced with a plaintiffs previous sworn statement asserting "total disability" or the
             like, the court should require an explanation of any apparent inconsistency with the
             necessary elements of an ADA claim. To defeat summary judgment, that explanation
             must be sufficient to warrant a reasonable juror's concluding that, assuming the truth of,
             or the plaintiffs good-faith belief in, the earlier statement, the plaintiff could nonetheless
             "perform the essential functions" of her job, with or without "reasonable
             accommodation."

  526 U.S. at 807. As shown, the Court quite clearly set forth the test to determine the effect of an

  SSDI application on a plaintiffs ADA claim. None of the factors that Plaintiff analyzes under

  the EEOC Guidance are consistent with the straightforward test set forth in Cleveland.

  Consequently, this Court would err as a matter of law by resting its decision upon them.

             In all, Plaintiff has now testified under oath on numerous occasions that she was unable

  to work as of March 8, 2013, her last day of work. She has not offered any explanation - let

  alone a sufficient one - as to how that testimony could somehow be consistent with her


       whether, by her statement in the SSDI Application, she meant that she was unable to do any work, she replied:
       "Yes, at that time when I stated that, yes, because I was under a lot of medications, and my depression
       increased." (ECF Doc. No. 28, f 95).

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  reasonable accommodation and discriminatory discharge claims in this litigation, which require

  her to prove she was a qualified individual with a disability as of that date. Accordingly, her

  claim fails as a matter of law. Melendez-Santana v. Puerto Rico Ports Auth., 296 F. App'x 98,

  100 (1st Cir. 2008) (concluding summary judgment was appropriate on ADA claim where

  Plaintiff offered no explanation as to statements in SSDI application as to total disability);

  Sullivan v. Raytheon Co.. 262 F.3d 41, 47 (1st Cir. 2001) (same); Femino v. NFA Corp.. No.06

  143 ML, 2007 WL 1991530, at *5 (D.R.I. June 6, 2007) (same), report and recommendation

  adopted. No. 06-143 ML, 2007 WL 1893719 (D.R.I. June 29, 2007), affd. 274 F. App'x 8 (1st

  Cir. 2008).

        2. No Evidence of Discriminatory Discharge

             Even if Plaintiff s discriminatory discharge claim (Counts V through VIII) was not fatally

  flawed based upon her sworn statements in her SSDI application, it nevertheless fails because -

  as Magistrate Judge Almond properly concluded - Plaintiff did not present any competent

  evidence from which a reasonable juror could conclude that her June 17, 2013 discharge for job

  abandonment was motivated by discriminatory animus. As Magistrate Judge Almond stated,

  Plaintiff conceded that Honeywell had legitimate reasons to cross-train its employees to work in

  the Molding Department and that other employees expressed dislike of the Molding Department

  because of the pace of the work and reduced opportunity to socialize. (R&R, p. 16). As a result,

  Honeywell unsurprisingly closely scrutinized her request to be excused from the Molding

  Department, and Plaintiff presented no evidence to suggest that "Honeywell's business decision

  was in any way personal to Plaintiff or motivated in any way by her particular work history or

  abilities." (Id.).




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              In her Objection, Plaintiff sets forth a number of reasons that she believes show

  Honeywell discharged her because of her disability—each of which is either grossly speculative

  and unsupported by evidence, or not relevant to her disability discrimination claim. For

  example:

          •     Plaintiff states that "Honeywell knew about Pena's past FMLA medical leaves for

               seasonal depression." (Plaintiff's Objection, p. 6). However, Plaintiff s seasonal

               depression has nothing to do with this case. She claims in the instant case that her

                disability was anxiety as a result of working in the molding department. Plaintiff does

                not present any claim based upon her seasonal depression and, in fact, Honeywell

               accommodated each of her requested medical leaves for her seasonal depression by

               allowing her time to take trips to the Dominican Republic. (ECF Doc. No. 28, % 26).

               Thus, Plaintiffs seasonal depression or Honeywell's knowledge thereof have nothing

                to do with this claim.

          •     Plaintiff states that "Honeywell knew that Pena had been receiving counseling and

                medication from a mental health provider since 2010." (Plaintiff s Objection, p. 7). In

                support, she relies upon the letterhead of a letter written by her physician, Dr. James

                Greer, dated March 8, 2013, which lists the services he provides, including "Mental

                health and substance abuse care and treatment services . . . ." First of all, it is absurd to

                believe that each and every time an employee submits a doctor's note, an employer is

                required to assume that their employee receives treatment for all of the conditions that a

                doctor sets forth in his letterhead. No reasonable juror would so conclude. Further,

                given that the note is dated March 8, 2013, it is unclear how Plaintiff concludes that




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                 Honeywell's knowledge dated back to 2010. Indeed, Plaintiff offers no evidence or

                explanation of this.

           •     Plaintiff claims that Jose Gouveia, Honeywell's Human Resources Generalist,

                suggesting "that she apply for some of disability insurance [on February 21, 2013]

                 leads to a very strong inference that Gouveia must have believed that Pena was unable

                to work due to a disability or medical issue." (Plaintiff's Objection, p. 7-8). First, Mr.

                 Gouveia's suggesting that Plaintiff apply for disability benefits if she was unable to

                 perform her job was part of his role as Human Resources Generalist and, without more,

                 does not give rise to any inference of discrimination. Moreover, the temporal proximity

                 of nearly four months between this statement and Plaintiffs termination on June 17,

                 2013, is insufficient to show any causal connection. See Reilly v. Cox Enterprises,

                 Inc.. No. 13-785 S, 2016 WL 843268, at *3 (D.R.I. Mar. 1, 2016).

           •     Plaintiff claims that an issue of fact is somehow created by the fact that Dr. Elizabeth

                 Jennison, Honeywell's Associate Director of Health Services, "only received and

                 reviewed one of Dr. Greer's three letters and she never received or reviewed Pena's

                 completed Request for Reasonable Accommodation Form." (Plaintiffs Objection, p.

                 8). However, this fact is immaterial. Upon reviewing Dr. Greer's first note. Dr.

                 Jennison identified that Honeywell needed to know how Plaintiffs anxiety symptoms

                 would allow her to work in many areas of the plant, but not in the molding department.

                 (ECF Doc. No. 28,     51-55). Given that Honeywell never received an answer to this

                 question, it was not necessary for Dr. Jennison to review each and every doctor's note

                 or additional document to reiterate the same thing that she concluded the first time.




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                 The fact that she did not review subsequent documents does not suggest that Honeywell

                 engaged in discrimination.

           •     Plaintiff claims that "Honeywell did not consult with a psychiatrist and only relied on

                 the opinion of its own in-house doctor who specializes in occupational medicine."

                (Plaintiff's Objection, p. 8). Plaintiff sets this forward to suggest that "a reasonable

                jury could conclude that Gouveia, Dr. Jennison or someone else at Honeywell

                 purposefully did not consult with a trained psychiatrist in order to stonewall Pena's

                 efforts to remain employed and force her termination." (Plaintiff's Objection, p. 9).

                 However, Plaintiff offered absolutely no evidence of such a nefarious intent.

                Therefore, a reasonable jury could not so conclude, because such a conclusion would

                 not be based upon evidence.

   As these points show, Plaintiff has offered no evidence that she was discharged because of her

   disability. While Plaintiff attempts to create an issue of fact where none exists, each and every

   point that Plaintiff attempts to make in her Objection are either irrelevant to her claim, or grossly

   speculative and unsupported by evidence; therefore, these unfounded assertions are not properly

   considered for purposes of summary judgment. Taylor v. Am. Chem. Council. 576 F.3d 16, 24

   (1st Cir. 2009) (recognizing that, for purposes of summary judgment, the court "must ignore

   conclusory allegations, improbable inferences, and unsupported speculation"). Accordingly,

   Plaintiff failed to carry her burden of proving that she was discharged because of her disability,

   and summary judgment is appropriate. See Barber v. Verizon New England Inc., No. 05-390-

   ML, 2006 WL 3524465, at *3 (D.R.I. Dec. 6, 2006); Ward v. Massachusetts Health Research

   Inst.. Inc., 209 F.3d 29, 33 (1st Cir. 2000).




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         III.         PLAINTIFF'S RETALIATION AND WHISTLEBLOWER CLAIMS
                      (COUNTS IX THROUGH XII)

                Magistrate Judge Almond also properly concluded that summary judgment is proper with

   respect to Plaintiffs retaliation and whistleblower claims because she failed to present any

   evidence to show a causal connection between her February 21, 2013 conversation with Mr.

   Gouveia about her break schedule and her termination nearly four months later on June 17,

   2013. In fact, after February 21, 2013, Plaintiffs break schedule was never mentioned again,

   and the dialogue between Plaintiff and Honeywell focused singularly on the issue of her

   assignment to Honeywell's Molding Department. In addition, the undisputed evidence shows

   that Honeywell terminated Plaintiffs employment only after she refused to work in the Molding

   Department, left the workplace, and never returned. Even then, Honeywell did not terminate her

   until she was absent for over three months and after she had not responded to Honeywell's

   communications for over a month. There is absolutely no evidence of discriminatory animus.

                Plaintiff grasps at straws in her Objection by grossly speculating, without any support or

   inference whatsoever, that perhaps "Honeywell would not have taken such a hard line with her

   about working in the Molding Room" and that maybe Mr. Gouveia suggested that Plaintiff apply

   for disability benefits, not because of his position as Honeywell's Human Resources Generalist,

   but instead because he "was frustrated with [Plaintiff] because she complained about unlawful

   conduct regarding her diabetes." (Plaintiff's Objection, p. 15). There is simply no evidentiary

   support for either of these speculative assertions and, accordingly, she cannot rely on them to

   avoid summary judgment. Medina-Rivera v. MVM, Inc., 713 F.3d 132, 140 (1 st Cir. 2013)

   (concluding that a plaintiff could not avoid summary judgment by resting upon conclusory

   speculation); Taylor, 576 F.3d ar 24 (recognizing that the court "must ignore conclusory

   allegations, improbable inferences, and unsupported speculation"); Johnston v. Urban League of


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   Rhode Island, Inc.. 2011 WL 2297655, at *3 (D.R.I. May 17, 2011) ("To oppose the motion

   successfully, the nonmoving party must present affirmative evidence to rebut the motion . . .

   Even in cases where elusive concepts such as motive or intent are at issue, summary judgment

   may be appropriate if the nonmoving party rests merely upon conclusory allegations, improbable

   inferences, or unsupported speculation."). Moreover, not only are Plaintiffs theories fantastical,

   but they are also belied by all of the record evidence which shows that Plaintiffs diabetes was

   never mentioned after February 21, 2013, and Plaintiff was terminated nearly four months later

   after she refused to work in the Molding Department, left work and never came back, and

   stopped communicating with Honeywell. Accordingly, Plaintiffs speculative assertions in her

   Objection should be disregarded for that reason as well. See Medina-Rivera. 713 F.3d at 134,

   136 (The court "cannot accept conclusory allegations, improbable inferences, and unsupported

   speculation" for purposes of a summary judgment motion and "need not accept [a plaintiff s]

   version of events if it is 'blatantly contradicted' by the evidence.").

              When the magical theories presented for the first time in Plaintiff s Objection are swept

   away,6 all that remains is Plaintiffs attempt to rely on temporal proximity to establish a causal

   connection for her retaliation claim. However, as Magistrate Almond concluded, the nearly

   four-month period between Plaintiffs alleged protected conduct on February 21, 2013, and her

   termination on July 17, 2013, is insufficient to establish a causal connection based on temporal

   proximity. See Calero-Cerezo v. U.S. Dep't of Justice, 355 F.3d 6, 25 (1st Cir. 2004) ("Three

   and four month periods have been held insufficient to establish a causal connection based on

   temporal proximity."); Ramirez Rodriguez v. Boehringer Ingelheim Pharms., Inc.. 425 F.3d 67,



   6    In her Opposition to Honeywell's Motion for Summary Judgment, Plaintiff identified the adverse employment
        action as her termination on July 17, 2013, and relied solely on temporal proximity to (unsuccessfully) establish
        a causal connection between her alleged discussion with Mr. Gouveia on February 21, 2013 and her termination
        on that date. (ECF No. 33, Attachment 1, p. 47).

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   85-86 (1st Cir. 2005) (finding two-month temporal proximity between filing of discrimination

   complaint and plaintiffs termination insufficient to establish a causal connection for ADEA-

   based retaliation claim); Colburn v. Parker Hannifin/Nichols Portland Div., 429 F.3d 325, 338

   (1st Cir. 2005) (holding four month interval between commencement of leave and termination

   "raises no inference of retaliatory motive"); Sauzek v. Exxon Coal USA. Inc.. 202 F.3d 913,

   918-919 (7th Cir. 2000) (three months too long to support an inference of retaliation); Castro-

   Medina v. P & G Commer. Co.. 565 F.Supp.2d 343, 382 (D.P.R. 2008) (plaintiff unable to

   establish prima facie case that termination constituted retaliation where almost four months had

   elapsed between filing of complaint and termination). Accordingly, Magistrate Judge Almond

   properly concluded that Plaintiffs retaliation claim fails because she has not established any

   causal connection between her protected conduct and her termination.

        IV.           CONCLUSION

              For each and all of the foregoing reasons, Defendant Floneywell International, Inc.

   respectfully requests that the Court ACCEPT Magistrate Judge Lincoln D. Almond's Report and

   Recommendation and ALLOW Honeywell's Motion for Summary Judgment in its entirety.




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                                                        HONEYWELL INTERNATIONAL INC.,

                                                        By their Attorneys,

                                                        NIXON PEABODY LLP




                                                         /s/ Neal J. McNamara
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   Date: October 20, 2017




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the within Response to
   Plaintiffs Objection to Magistrate Judge Lincoln D. Almond's Report and Recommendation was
   served on counsel via the Court's Electronic filing system on this 20th day of October, 2017.




                                                          /s/ Neal J. McNamara




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